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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                        CASE NO. 1:21-cv-20862-BB

  MILLENNIUM FUNDING, INC., et al.,

          Plaintiff(s),

  vs.

  1701 MANAGEMENT, LLC d/b/a
  LIQUIDVPN, et al.,

          Defendant(s),

  and

  JPMORGAN CHASE BANK, N.A.,

          Garnishee.
  __________________________________/

                       ANSWER OF GARNISHEE AND DEMAND TO
                 JUDGMENT CREDITOR FOR PAYMENT OF ATTORNEYS’ FEES

          Garnishee JPMORGAN CHASE BANK, N.A. (“Garnishee”) answers the Writ of

  Garnishment (the “Writ”) served on it in the captioned matter as follows:

          1.      At the time of service of the Writ (plus sufficient time not to exceed one

  business day for Garnishee to act expeditiously on the Writ), at the time of this Answer, and

  at all points between such times, Garnishee was NOT INDEBTED to Judgment Debtor(s) 1701

  Management, LLC d/b/a Liquidvpn, Auh20, LLC, and/or Charles Muszynski a/k/a Frederick

  Douglas.

          2.      At the time of this Answer and at the time of the service of the Writ, and at all

  points between those times, Garnishee has had no other goods, money, chattels, effects, or


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                                      HomeR BonneR Jacobs Ortiz, P.A.
                          1200 Four Seasons Tower | 1441 Brickell Avenue | Miami Florida 33131
                                         305 350 5100 | www.homerbonner.com
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  other tangible or intangible property of Judgment Debtor(s) 1701 Management, LLC d/b/a

  Liquidvpn, Auh20, LLC, and/or Charles Muszynski a/k/a Frederick Douglas in its possession

  or control.

         3.     Garnishee does not know of any other persons indebted to Judgment

  Debtor(s) 1701 Management, LLC d/b/a Liquidvpn, Auh20, LLC, and/or Charles Muszynski

  a/k/a Frederick Douglas or who may have any of Judgment Debtors’ property in their

  possession or control.

         4.     Garnishee has been obligated to retain counsel in this matter and is required

  to pay its attorneys a reasonable fee, for which it is entitled to an award or fees as provided

  by Florida Statutes § 77.28.

         5.     These responses are based upon a search of data contained in Garnishee’s

  centralized customer identification and account information system. That system may not

  necessarily capture all relevant information concerning Judgment Debtor(s) or accounts.

         WHEREFORE, the Garnishee demands payment from Judgment Creditor to “Homer

  Bonner Jacobs Ortiz” in the amount of $100.00 pursuant to Florida Statutes § 77.28 forthwith

  for partial payment of its attorney fee. Payment shall be sent to 1200 Four Seasons Tower,

  1441 Brickell Avenue, Miami, FL 33131, and should include the title of the action and its

  corresponding case number. Garnishee further prays for the entry of an Order dissolving the

  Writ herein, and for such other and further relief as this Court deems just and proper.

                              DESIGNATION OF EMAIL ADDRESSES

         Counsel for Garnishee, pursuant to Rule 2.516 of the Florida Rules of Judicial

  Administration, hereby designates the following primary email address for service of court

  documents: GService@homerbonner.com.
                                                       2
                                  HomeR BonneR Jacobs Ortiz, P.A.
                      1200 Four Seasons Tower | 1441 Brickell Avenue | Miami Florida 33131
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                                      CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via E-

  Service on the date stamped on the first page of this notice, upon any counsel of record

  entitled to receive electronic service in this case.

                                                           Respectfully submitted:



                                                           Attorneys for Garnishee
                                                           1200 Four Seasons Tower
                                                           1441 Brickell Avenue
                                                           Miami Florida 33131
                                                           Phone: (305) 350-5117
                                                           Fax: (305) 372-2738

                                                           By:     /s/Andrew R. Herron
                                                                   Andrew R. Herron, Esq.
                                                                   Email: gservice@homerbonner.com
                                                                   Florida Bar No.: 861560




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